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                     FO R TH E SO UTH ERN DISTRIC T O F FLO R ID A
                      CivilNo. 20-cv-24721-UU

FEDERAL TRADE COM M ISSION, )
                            )
      Plaintiff,


                                                      FILED BY              D,C .
DIG ITA L INC O M E SY STEM ,IN C .,
  aFloridacorporation,              )                       N0k 1$2222
                                    )                         ANGELA E.NOBLE
DEREK JONES FOLEY,akaDerek )                                 cLERK U.
                                                                    s.Dls: cm
                                                             s.D.OFFLA.-MIAMI
  Jones,individually and asan owner,)
  officer,and/ormanagerof           )
  DigitalIncomeSystem,Inc.          )
                                    )
W ILLIAM FOLEY,individuallyand )
  asan owner,officer,and/or         )
  managerofDigitalIncome            )
  System ,Inc.                      )
CH RISTO PH ER BR AN D O N FR Y E,
  Individually,

JENN IFER H ED R ICK ,
  Individually,and

K M TLY N SC O TT,
  Individually,

      Defendants.                      )
                                       )
           C O M PLA IN T FO R PER M AN EN T INJU N CTIO N AN D
                       OTHER EQUITABLE RELIEF
   Plaintiff,TheFederalTradeCommission (;tFTC''),foritsComplaintalleges:
      TheFTC bringsthisactionunderSections13(b)and 19oftheFederalTrade
CommissionAct(tIFTC Act''),15U.S.C.jj53(b)and57b,toobtaintemporary,preliminary,
andpermanentinjunctiverelief,rescissionorrefonnationofcontracts,restitution,therefundof
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moniespaid,disgorgem entofill-gotten gains,and otherequitablereliefforDefendants'actsor

practicesinviolation ofSedion5(a)oftheFTC Act,15U.S.C.j45(a),andtheFTC'sTrade
Regulation Rule entitled ûûD isclosure Requirem entsand ProhibitionsConcenzing Business

Opportunities''(tll3usinessOpportunityRule''),16C.F.R.Part437,asamended.Theamended
Business O pportunity Rule becam e effective on M arch l,2012 and hassince thatdate rem ained

in fullforce and effect.

                             JU RISDIC TIO N A N D V EN UE

        ThisCourthassubjed matterjurisdictionpursuantto28U.S.C.jj1331,1337(a),and
1345.

        VenueisproperinthisDistrictunder28U.S.C.j1391(b)(2),(b)(3),(c)(1),(c)(2),and
(d)and 15U.S.C.j53(b).
                               SUM M ARY OF TH E CASE
   4. D efendantsoperate a fraudulentm oney-m aking opportunity schem e thatpreyson

consum ershoping to earn m oney from hom e.D efendants falsely tellconsum ersthat,through

Digitallncom e System 'sprogrnm ofsellingm emberships,consum erswillorarelikelyto eal'n

large sum s ofm oney. Defendantsrepresentto consum ersthatthe program w illenable

consumersto earn from $500 to $12,500 persale in steady income.
        Defendants telleach consum erthatD efendants w illsellm em bershipsin D igitallncom e

System tootherconsumersonhisorherbehalf.AfterDefendantsconvincetheconsumertojoin
the program ,D efendantscharge the consum era substantialam ountofm oney,ranging from

$1000 to $25,000.

        W hileDefendantsextractsteepfeesformembership,thevastmajorityofconsumers
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who pay D efendantsneverearn substantialincom e,m uch lessthe claim ed am ounts. ln fact,

m any consum ersneverearn anything from the program .

       Defendants'representations are false,m isleading,and unsubstantiated. Defendants'

deceptive salestactiesviolate the FTC Actand the Business Opportunity Rule.

                                       PLA IN TIFF

       The FTC is an independentagency ofthe United Statesgovenunentcreated by



whieh prohibitsunfairordeceptive aetsorpraeticesin oraffeeting comm erce. TheFTC also

enforces the Business Opportunity Rule,16 C .F.R.Part437,asam ended, w hich requires specific

disclosuresand prohibitscertain misrepresentationsin connection with thesaleofa business

opportunity.

       The FTC is authorized to initiate federaldistrictcoul'
                                                            tproceedings,by itsow n attorneys,

toenjoinviolationsoftheFTC Ad andtheBusinessOpportunityRuleandtosecuresueh
equitable reliefasm ay be appropriate in each case,including rescission orreform ation of

contracts,restitution,the refund ofm onies,and the disgorgem entofill-gotten m onies.15 U.S.C.

jj53(b),5717.
                                     DEFEN D A NTS

   10. kfDefendants''refersto allfiveDefendantsdeseribedbelow.

                                   Corporate D efendant

   11. DigitallncomeSystem,Inc.(ûbDigitallncomeSystem''orû1DlS''),isincorporatedinthe
State ofFlorida with itsprincipalbusinessaddress registered w ith the Florida Secretary of State

as 6619 South D ixie H ighw ay,# 329,M iam i,Florida 33143. DlS transactsand hastransacted
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business in this Districtand throughoutthe United Statesin connection w ith the m atters

discussed herein. 1tseffective date ofineom oration w as January 1,2019.

                                     Ow ner D efendants

    12. DerekJonesFoley,a/k/aDerekJones(ttDerekFoley''),islistedintheFlorida
Secretary ofState records asthe Presidentand an ownerofDigitalIncom e System . D erek Foley

isa Florida resident. ln connection w ith the m atters alleged herein,he hastransacted businessin

thisD istrictand throughoutthe United States. A ta1ltim esm aterialto thisCom plaint, acting

alone orin eoncertwith others,Derek Foley hasformulated, directed,controlled,had the

authority to eontrol,orpartieipated in the aets and praetieesofD igitallneom e System asset

forth in this Com plaint. H e hasserved as a lkcoach''to num erousD igitallncom e System

custom ersand has m ade num erousm isrepresentations to consum ers. D erek Foley has had

knowledgeofthedeeeptive adsand pradieesofDefendantsbased on consumereomplaintshe

personally received.

    13. W illiam Foley is listed in the Florida Secretary ofState records as the Secretary of

D igitalIncom e System . He is also an ow ner ofthe com pany. W illiam Foley is a Florida

resident. In connection w ith the m atters alleged herein,he hastransacted businessin this D istrict

and throughoutthe U nited States. Ata1ltim es m aterialto this Com plaint,acting alone or in

coneertwith others,W illiam Foley hasformulated,direded,controlled,had theauthority to

control,or participated in the acts and prad iees ofDigitallneom e System assetforth in this

Complaint. Hehasservedasaûûcoach''to numerousDigitallncome System custom ersand has

m ade num erousm isrepresentationsto consum ers. W illiam Foley hashad know ledge ofthe

deceptive actsand practices ofD efendantsbased on consum ercom plaintshe personally

received.


                                                4
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   14.H ereinafter,ûtow nerD efendants''refersto D erek JonesFoley and W illiam Foley.

                                    Prom oter D efendants

   15. ChristopherBrandonFrye(ûûFrye'')isapromoterforDigitallncomeSystem.Atall
tim esm aterialto this com plaint,acting alone orin concertwith others,Frye hasform ulated,

directed,controlled,had the authority to control,orparticipated in the acts and practicessetforth

in thisCom plaint. Frye resides in A rizona and,in connection w ith the m attersalleged herein,

transactsorhastransacted businessin thisD istrictand throughoutthe U nited States. H e has

produced,narrated,and dissem inated advertising and prom otionalm aterials,including videos of

him self,to m arketD IS'sbusinessopportunity to consum ersthroughoutthe U nited States. In the

process,he hasm ade num erousm isrepresentationsto consum ers. Frye has had know ledge ofthe

deceptive acts and practicesofD efendantsbased on consum ercom plaints he personally

received.

   l6. JenniferHedrick(ûkl-ledrick'')isapromoterforDigitallncomeSystem.Atalltimes
m aterialto this Com plaint,acting alone orin concertw ith others,H edrick has fonnulated,

directed,controlled,had the authority to control,orparticipated in the actsand practices setfol'th

in thisCom plaint. H edrick residesin California and,in corm ection with the m atters alleged

herein,transactsorhastransacted businessin thisD istrictand throughoutthe U nited States. She

hasproduced,narrated,and dissem inated advertising and prom otionalm aterials,including

videos ofherself,to m arketD 1S's business opportunity to consum ers throughoutthe U nited

States. ln the process,she hasm ade num erous m isrepresentationsto consum ers. H edrick has

had know ledge ofthe deceptive acts and practicesofD efendantsbased on consum ercom plaints

she personally received.

         KaitlynScott(tûscotf')isapromoterforDigitallncomeSystem .Atalltimes
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m aterialto thisCom plaint,acting alone orin concertw ith others,Scotthas form ulated,directed,

controlled,had the authority to control,orparticipated in the actsand practices setforth in this

Com plaint. Scottresidesin South Carolina and,in connection w ith the m atters alleged herein,

transacts orhas transacted business in this D istrictand throughoutthe U nited States. She has

produced,narrated,and dissem inated advertising and prom otionalm aterials,including videosof

herself,to m arketD 1S's business opportunity to consum ersthroughoutthe U nited States. ln the

process,she hasm ade num erous m isrepresentations to consum ers. Scotthas had know ledge of

the deceptive actsand practices ofDefendantsbased on consum ercom plaints she personally

received.

    l8.Hereinafter,liprom oterD efendants''refersto Frye,Hedrick,and Scott.

                      D EFEN D AN TS'BU SIN ESS PM CTICES

        Since atleastearly 2019,the Corporate Defendantand the O wnerDefendantshave

m arketed and sold bogus m oney-m aking opportunitiesto consum ersthroughoutthe United

States. The Prom oterD efendantshave m arketed D igitallncom e System since atleastm id-2019.

A llDefendants advertise the purported m oney-m aking program ,tkD igitallncom e System ,''

through w ebpages,socialm edia platfonns,including Facebook,and otherm ethods.

        D1S isa business opportunity schem e thatsellsûûm em berships''to consum ersat

variouspricepoints specitically,Entrepreneur($1,000),Director($3,000),Professional
($5,000),Ambassador($12,000),andExecutive($25,000).Bypurchasingaitmembership''
through D IS,consum erspum ortedly iteanf'the rightto have D 1S sellm em berships on their

behalfto otherconsum ers. Foreach sale m ade by D 1S on behalfofa m em ber,thatm em bercan

pum ortedly earn a com m ission ofup to 50% ofhis orherown m em bership level. Forexam ple,

consum erA who buysattheEntrepreneurlevelwould allegedly earn a$500 com mission ifDIS,
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on behalfofconsumerA,were to sellconsumerB an Entrepreneurlevelmem bership for$1000,

butconsumerA would stillallegedly earn a$500 com mission ifDIS,on behalfofconsum erA,

wereto sellconsumerC aDirectorlevelmem bership for$3000.
   21. Defendantsm arketthe system to consum ers by describing the sales process as tifully-

autom atic,''on ûtautopilot,''and ûthands-free.'' D efendantstellconsum ersthatthey are not

required to do any work to m ake com m issions. The firststep in the salesprocessisûûlead

generation.'' Upon purchasing a m em bership,participantsreceive theirow n w ebsites,which

advertiseDlS'spurportedmoney-makingprogram (tûcapturepages'').DlSclaimstothen
ttrotate''m em bers'capture pages through ittraffic''- /.c.,D 1S sends advertisem ents to prospects,

or Sileads,''including linksto the m em bers'capture pages. The higheran individual's

m em bership level,the m ore tltraftic rotations''a m em berpurportedly receives. Prospectsw ho

visitm em bers'capture pages can then click a button to requesta callfrom a DlS ûtcoach,''at

which pointthe prospects are prom pted to entertheirnam esand contactinform ation. D lS claim s

thatitsclosers,orlûcoaches,''then use thatcontactinfonnation to calleach and every one of

these leadsto ktclose''a sale ofm em bership. Ifa D IS coach successfully closes a sale,the

m em berto w hom the capture page belongspurportedly ealmsa com m ission. In sum ,D IS claim s

thatitautom atically generatesleads foritsm em bers,callsthe leads,closes the sales,and sends

the com m issions to m em bers.

         D efendants'statem ents,w ebsite,advertisem ents,and directm ailingsrepresentthat

consum ersw illquickly m ake substantialearningsusing DIS.

   23. ln fact,theserepresentationsare false,m isleading,and unsubstantiated. M ost

consum ers do notm ake substantialeanzings using D1S'sprogram ,and often m ake no m oney at

all.
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                          The D ieitallncom e Svstem W ebsite

   24. Digitallncom e System 's website statesthatitoffers ûûA Fully-Autom atic System

for Generating Online lncom e:Digitallncom e System isan integrated all-in-one m arketing

solution for generating stable online incom e through the use ofdone-for-you traftic,m arketing

autom ation,and sales force crow dsharing.''

   25. The D 1S w ebsite m akes orhas recently m ade the following claim s abouthow m uch

m oney consum ers can expectto eam using D IS'sprogram '
                                                       .

              çiconsumerswillearn between $500 and $12,500 persale.''
           b ûûY ou can becom e very w ealthy.''

               GûEach tim e w e close a sale on yourbehalf,we send a huge 50% com m ission

              check straightto your doorstep.''

               ûûA.
                  n am azingly simpleway to generatean extra $500alltheway up to an extra

              $12,500 orm orein steady income.''
              ûtW ith thisunique opportunity,you can generate paym ents m ade to you w ithout

              the steep learning curve ortedioushard w ork thatthe otherprogram s m ake you

              do....W ith ourD igitallncom e System ,you'llneverhave to sellanything to

              anyone. Thatisw hy oursystem isw orking forpeople from allw alksoflife.''

              kt-f'he num berone w ay to have a greattinancialfuture isto m ake a lotofm oney

              rightnow.... Focusa few minutesaday and generate$500 to $12,500 ormore
              in steady incom e w ith oureasy three-step system .''

        The D IS w ebsite m akesorhasrecently m ade the follow ing claim sabouthow D lS w ill

help consum ersearn substantialam ounts ofm oney:

           a. ûûW e deliverautom atic w ebsite traffic directto yourwebsite for life.''


                                                 8
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          b. tûourprofessionalsalesteam callsyourqualified leadsand closesthe sale for

              yotl.5*

              tûW e m ake allthe phone calls and answ era1lthe questions. W e getthem started

              and every tim eaprospevtsaysyes,aminimum of$500 alltheway up to $12,500
              w illbe headed yourw ay.''

          d. lûEvery tim e one ofourprofessionalscloses a sale on yourbehalf, w e w illsend

              you a huge com m ission check rightto yourdoorstep.''

              dt-fheSystem worksforyou24hoursaday,7daysaweek.Youjustrelax,open
              yourm ailbox,and countyourm oney.''

              ttW e give you ourtraffic sources,you send thattraftic to the D IS system ,and w e

              dotherest.Al1youhavetodoiscollectyourmoneyandenjoyyourlife.''
          g. tbàrou neverhave to m ake ortake any phone calls orsellanything to anyone.Y ou

             hardly have to spend any tim e on thisto be w ildly successful. N o m ore than a

             few m inutesperweek on average.There'sno website foryouto build,no

             trainingsforyou to attend,no webinars,and remember,no contadinganyone.

             W hen itcom esto sales,ourbusiness specialistshave itallcovered foryou. W ith

             ourturn-key and proven m arketing packages,you getaccessto instanttraffic on

             dem and,yourtraftk is delivered autom atically,and yourtargeted prosped sw ill

             go through ourhigh eonverting sales funneland take the nextstep by requesting a

             callback and talking to a businessspecialist.''

   27. The video displayed on the D igitallncom e w ebsite,w here consum ers can subm ittheir

      personalcontactinfonnation and a requestto be contacted by D 1S by telephone,also
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       containstestim onials by severalindividualsw ho claim to have ealmed substantial

       am ounts ofm oney quickly and easily by using the D igitallncom e System '
                                                                                .

           a* tûllan''- generated 11$26!500 in 31days.''

           b. kûBrandonF.''-generated::$224!
                                           '500 sincejoining.''
                    i. tûl-low sim ple this tnlly is. Ihave m oney tlow ing to m y m ailbox

                       alm ostevery single day....Easiestthing ever.''

                       klBuilt-in m arketing isdone for you inside the system plusa callcenter

                       closing a11ofyour sales foryou.''

                  iii. gshowinganarrayofcheckslt'sendingchecksrighttomymailbox.''
               itDanielKum p''- generated $:$32 500in 36 days.''
                    i. ikcom pletely blow n aw ay abouthow sm ooth the system really is. The

                       coaches m ake itsuper sim ple.''

                   ii. i;On yourwaytoautomaticcommissionsjustlikelhavethelast30days.''
                               The Prom oter D efendants

   28. M any consum ers view Facebook posts and Y ouTube videoscreated by the Prom oter

D efendants,who also com m unicate w ith consum ers via Facebook M essenger,textm essages,

em ailsortelephone. The Prom oterD efendants,w ho purportedly describe theirexperiencesas

m em bersofD igitalIncom e System ,actas spokespeople forthe com pany,m aking the

representationsdescribed above or substantially sim ilarto those described above,including

claim s abouthow m uch m oney they have purportedly earned by selling m em berships,a process

they,like D IS,describe as iûfully-autom aticr''on ûûautopilot,''and iûhands-free.'' The Prom oter

D efendantsalso em phasized how the process broughtm oney directly to the consum ers'

doorstep. For exam ple,JenniferH edrick told atleastone consum erthat,now m ore than ever,


                                                  10
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 peopleneedtolearntomakemoneyfrom theirhomebecauseofbeinglaidofforoutofajobdue
 to coronavirus.They makeclaimsaboutthesalesand comm issionsthey have generated and

 representthatotherswhojoincangeneratesimilarsalesandcommissions.Inmakingthese
 claim sover YouTube orFacebook,the Prom oter Defendantsdisplay eheeksthatthey elaim to

 havereceived through Digitallncome System ,stating orimplying thatconsum erscould receive

 similarchecksiftheyjoin.
         TheProm oterDefendantsshow ordescribethousandsofdollars'worth ofcashier's

eheeksand m oney ordersthey havepurportedly earned through Digitallncome System on their

postsand videos.

     30. Forexam ple,JenniferHedrick hasposted the follow ing im ages on Facebook:

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   31.Kaitlyn Scotthasm adethefollowing post,amongothers,on Facebook:

                            Kaitlyn Scottadded 40 new photos.
                            Jélrqt.1é1r),?;é!()r:lt:'
                            -                       )'-.?? /tthz1.$k-.19
                                                       .'



                     F F +,SOMANYPEOPLEWINNING !!!#'$-#'
                     OKAYGUY,LISTEN-UP k ...
                     X X SomethingHUGEisComingVERYSOON X X
                     ThisAutomated BusinessSystem LITERALLY Changed ...

                     $ # @ # MYWHOLEDAMNLIFE # $ * $
                     &AsYOUCanObviouslySEEk .,.
                     lt'
                       sALSO Changed HUNDREDS OfOthersLivesTOO !!

                     W hat'sCOMING NEXT i
                                        s Going To Take UsALL To ..,

                     dp dpdp de AWHOLENEW LEVEL!!!!!!l
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                     YouDO NOT % WantToMissOutonThisMONEYTrain..
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                     # # ONLYGo-GettersWillGetHere# #
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                     The Week !!!..This Morni
                                            ng lWentTo The NailSalon ..# ,
                     RanSomeErrands= ,AndDidA LittleShopping @ .OH &
                     INeed To Stop AtThe Bank To Deposi
                                                      tMore Checks into
                     MyAccounté ..,,..# '# $4,500ToBeExact!!!h''
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                     * TheBESTPART# w ??!!..ThatisLITERALLYONLY
                     Two Days Worth ofSalesThatMy Coach Closed ForMe
                     $ !!!!..ALSO r: ...lKnow IHaveTonsofMessagesin
                     MyInboxRightNow 1&AlotofPeopleAreEagerToGet
                     StartedwithThi
                                  sOpportuni
                                           ty : ..SoAsSoonAs1Get
                     Home '
                          .+ ,1'11Make Sure To Respond Back To Everyone and
                     GetThose ThatAre READY To Take ChargeofTheirLife
                     & lncomeSet-upwithMyPersonalSuccessCoach%*6 '#'




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         ChristopherBrandon Frye has m ade the follow ing and otherclaim son a Y ouTube

vl
 'deo'
     .

               kûlt's insane guyshow sim ple thistruly is.lhave m oney flow ing to m y m ailbox

               every single day alm ost,thanks to ourcallcenter,thanks to ourcoachesw ho are

               closing oursales forus.''

               ttD igitalIncom e System wantsto m ake sure they take care oftheirm em bers....

               w illputm ore m oney in al1ofourpockets.''

           c. kistartw ith usand getthese checkscom ing in.''

           d. tûA llofour com m issions willnow be four-tigure com m issions. N othing sm aller

               than four figures com ing to yourm ailbox.''

         Frye has also posted a Y ou-fube video in which he claim ed to have ûtrecently hita

   huge m ilestone in the D igitalIncom e System business.'' H ehas claim ed that,to

   ltcom m em orate''this m ilestone,Digitallncom e System senthim a large presentation check

   asan ttaw ard.'' The presentation check,which Frye held up in the video,pum ortedly

   represented the $529,000 thatDigitallncome System had sentto FryeforsalesD1S allegedly
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                                                                                                     D efendants'D irectM ailines

   34. D lS and O wnerD efendants also recruitconsum ers via deceptive letters.Forexam ple,a

              D 1S letter signed by D efendantD erek Foley,includesthe follow ing m isrepresentations:

                                   tûYou can startreceivingchecksliketheoneaboveL$12,5001.REAL checksto
                                   depositinto yourbalzk accountby sim ply giving the m illionsofpeople looking

                                   forawaytomakemoneywhattheyreallywant.(Don'twon'
                                                                                 y,weknow exactly
                                   how toreachpeoplejustlikeyouwhowanttomakemoremoneyandwe'llshow
                                   youtheeasiestwaystogetanendlesssupplyofthesebuyers.l''
                      b. idlm agine how you're going to feelw hen you getenvelopes containing REA L

                                   checks W orth Thousands ofDollars delivered directly to yourfrontdoor.''



                                                                                                                                       15
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               tlW hen you see the Free V ideo l've m ade foryou, you'llrealize,m aybeforthe

               firsttim e,thatyou actually can have allthe m oney and the lifestyle you've been

               longing for allthese years,beeause we have taken aw ay the #1 reason people fail

               in theirattem ptsto m ake m oney. W e have puttogethersom ething thatallow s

               com plete noviees allthe w ay up to the burned outbusiness ow nerto m ake m oney

               w ith alm ostZERO effort.''

           d. :iIhaveperfected my originalstrategiesand added aCriticalUpdatesothat

               ordinary,averagepeopleean makean aboveaverageineomefrom homewithout

               a steep learning curve and w ithoutpicking up the telephone to talk to anyone.

               EV ER .''

The letterthen refersconsum ersto the D igitallncom e System w ebsite, w here they can enter

theirnam es and eontad inform ation and requesta callfrom a coach.

                    Telephone C alls from D izitalIncom e Svstem C oaclw s

    35. Aftertheir interaction w ith the com pany's website,a m em ber's capturepage, orw ith a

Prom oterD efendant,eonsum erssom etim esthen receive a eallfrom a ûieoach''daim ing to w ork

forD igitallncom e System . Oftentim es,the coach identifieshim selfasD erek Foley, who

som etim es goes by the nam e ofDerek Jones orCoach D erek,or W illiam Foley, w ho som etim es

goes by the nam e ofCoach Bill.

   36. D uring these telephone conversations,the coachesm ake earningsclaim s

substantially sim ilarto those described above,including representations thatD IS w illprovide

m em berstheircapture pages,ûûrotate''theircapture pagesthrough tktraffic,''generate the leads,

eallthe leads,close the sales,and send m em berstheircom m issions. The coachesclaim
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 consum erscan eam substantialam ountsofmoney with Digitallncom eSystem ,often pointing to

 the earnings thatProm oterD efendants claim to have m ade.

                               Pavm entfor M em bership

    37. Once consumersagreeto purchasem em berships,DlS coachesinstructconsumers

to w rite tw o cashier's checks orm oney orders- one m ade outto D lS and the otherm ade outto

the m em beron w hose behalfD lS closed the sale. D IS coachesinstructthe consum ers to m ail

170th ehecks to the D igitalIncom e System m ailing address in M iam i, Florida. D1S then m ails the

 seeond eheck to the m em beron whose behalfD lS closed the sale,w hich isusually the prom oter.

                               Consum ers'L ack of Earninzs

          Contrary to the representationsD efendants m ake to consum ers,in num erous

instances,consum ersdo notem'
                            n any m oney from D IS. ln other instances, consum ersdo not

makeback theam ountoftheirinitialinvestm entin DIS.

    39. Consum ershave com plained to D IS,to the Ow nerDefendants,to their coaches,and to

Prom oterDefendants that,contrary to Defendants'prom ises,D lS has generated no sales on their

behalf.

          The Ow nerD efendants,the coaches,and Prom oterD efendantshave attim esresponded

to the complaintsby convincingconsum ersto buy additionalleads,orittraffic,''from

recomm endedbusinesses,claim ing the increased trafficwillenhancetheirearningspotential. In

num erousinstances,the additionaltraftic has resulted in no com m issions.

                            V IO LA TIO N S O F TH E FTC A CT

          Section5(a)oftheFTC Act,15U.S.C.j45(a),prohibitsLkunfairordeceptiveactsor
practicesin or affecting com m erce.''

    42. M isrepresentationsordeceptiveom issionsofm aterialfactconstitutedeceptiveactsor
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practicesprohibitedby Section5(a)oftheFTC Act.
                                          C O U NT O NE

                              M isrepresentations Reeardine E arnines
                                      (asto aIIDefendants)
        43. ln num erous instances in connection w ith the advertising,m arketing,prom otion,

offering for sale,or sale oftheirpurported m oney-m aking opportunities,D efendantsrepresent,

directly orindirectly,expressly orby implication,thatpurchasersofDigitallncome System

m em berships willearn orare likely to ealm substantialincom e.

        44. Defendants'representations setfol'th in Paragraph 43 are false orm isleading,orw ere

notsubstantiated atthe tim e the representationsw ere m ade.

        45. Therefore,D efendants'representationssetforth in Paragraph 43 constitute deceptive

actsorpracticesinviolation ofSection5(a)oftheFTC Act,15U.S.C.j45(a).
                   VIO LAT IO N S O F TH E BU SIN ESS O PPO R TUN ITY R U LE

        46. D efendants are ûtsellers''who have sold oroffered to sellitbusiness opportunities''as

detinedbytheBusinessOpportunityRule,16C.F.R.j437.l(c)and(q).UndertheBusiness
O pportunity Rule,a ûlseller''isa person who offers for sale orsellsa businessopportunity. 16

C.F.R.j437.1(q).
            U nderthe BusinessO pportunity Rule,a kibusinessopportunity''m eans a ûûcom m ercial

arrangem ent''in w hich a tiseller solicits a prospective purchaserto enterinto a new business'''

the tiprospective purchaserm akes a required paym enf'!
                                                      '
                                                      hand the t'seller,expressly orby

im plication,orally orin writing,representsthatthe sellerorone orm ore designated persons w ill

. . .   (plrovideoutlets,accounts,orcustomers,including,butnotlimitedto,Internetoutlets,
accounts,orcustomers,forthepurchaser'sgoodsorservices.'' 16C.F.R.j437.1(c).
        48. A m ong otherthings,the BusinessO pportunity Rule requires sellersto provide


                                                    18
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 prospectivepurchaserswith adisclosuredocumentinthefonu and usingthelanguage setforth

 in the Business Opportunity Rule and itsA ppendix A , and any required attachm ents. In the

 diselosure docum ent,the sellerm ustdiselose to prospectivepurchasers tive categoriesof

inform ation,ineluding basic identifying inform ation aboutthe seller, any earningsclaim s the

sellerm akes,the seller's litigation history,any cancellation and refund policy the selleroffers,

andcontactinformationofpriorpurchasers.16C.F.R.j437.3(a)(l)-(5).Furthermore,this
infonnationmustbedisclosedatleastseven(7)daysbeforetheprospectivepurchasersignsa
contractormakesapayment.16C.F.R.j437.2.Thepre-saledisclosureofthisinformation
enables a prospedive purehaserto eontactpriorpurchasers and take other stepsto assessthe

potentialrisksinvolved in the purchase ofthe business opportunity.

    49. Defendants have m ade earnings claim s in connection with the sale oftheir

business opportunities,as defned by the Business Opportunity Rule, 16C.
                                                                      F.R.j437.1(9.
UndertheBusinessOpportunity Rule,an ksearningsclaim ''m eansltany oral,written,orvisual

representation to a prosped ive purehaserthatconveys,expressly orby im plication,a spevific

levelorrange ofactualorpotentialsales,orgrossornetincomeorprofits.'' 16 C.F.R.j

437.1(9.
         The BusinessOpportunity Rule prohibits sellersfrom m aking earningsclaim s

unlesstheseller:(1)hasareasonablebasisfortheclaim atthetimeitismade;(2)hasinits
possessionwrittenmaterialsto substantiatetheclaim atthetimeitismade;(3)makeswritten
substantiation oftheearningsclaim availableto any prospectivepurchaserwho requestsit;and

(4)furnishesan earningsclaim statementtoprospectivepurchasersin conjunctionwith the
disclosure docum ent,containing,mnong otherthings,infonnation regarding the tim e fram e

captured by the ealmingsclaim ,the characteristicsofthe purchasers,and the num ber and
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percentage ofa1lpersonsw ho purchased the businessopportunity w ithin the tim efram e who

achieved atleastthe stated levelofeanzings.l6 C .F.R.j437.
                                                         4(*.
    51. D efendants have also m ade earnings claim sin connection w ith the sale oftheir

businessopportunitiesinthe generalmedia,asdefined by the BusinessOpportunity Rule,16

C.F.R.j437.1(h).UndertheBusinessOpportunityRule,tûgeneralmedia''meansltany
instrumentalitythrough which aperson may comm unicatewith thepublic,including,butnot

lim ited to,television,radio,print,lnternet,billboard,W eb site,com m ercialbulk em ail, and

mobilecommunications.''16C.F.R.j437.l(h).
    52. The BusinessO pportunity Rule prohibits sellersfrom m aking earnings claim sin

the generalm edia unlessthe sellerhasa reasonable basisforand w ritten substantiation ofany

earningsclaimsandstatesinimmediateconjunctionwiththoseclaimsthebegilmingand ending
datesw hen the represented earningsw ere achieved,and the num ber and percentage ofal1

personsw ho purehased Defendants'businessopportunity priorto thatending date w ho achieved

atleastthestatedlevelofearnings.16C.F.R.j437.4*).
   53. The Business Opportunity Rule prohibitsa sellerfrom m isrepresenting the am ountof

sales,orgross ornetincom e orprotits a prospective purchaserm ay earn orthatpriorpurchasers

haveearned.16 C.F.R.j437.6(*.
   54. The Business Opportunity Rule prohibitsa sellerfrom m isrepresenting the likelihood

thata seller,locator,orlead generatorw illtind locations,outlets,accounts,orcustom ersforthe

purchaser.16C.F.R.j437.6().
        PursuanttoSection 18(d)(3)oftheFTC Act,15U.S.C.j57a(d)(3),aviolationof
the BusinessO pportunity R ule constitutes an unfair or deceptive actorpractice in oraffecting

commereeinviolationofSedion 5(a)oftheFTC Ad,15U.S.C.j45(a).


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                                     C O UN T TW O

                            D isclosure D ocum entV iolations
                      (astotheCorporateand OwnerDefendants)
   56. ln num erous instances in connection w ith the offerforsale,sale,orprom otion of a

business opportunity,D efendants failto furnish prosped ive purchasersw ith the disclosm e

doeumentand attaehm entsrequired by theBusinessOpportunity Rule,withinthetimeperiod

prescribed by the Rule.

   57. Defendants'actsorpractices,asdescribed in Paragraph 56 above,violate the

BusinessOpportunityRule,16 C.F.R.jj437.2and437.3(a),andSection5(a)oftheFTC Act,
 l5U.S.C.j45(a).
                                     C O U N T TH R EE

                                EarninesC laim s V iolations
                                  (astoalIDefendants)
   58. ln num erous instanees,D efendants m ake eam ingselaim s to prospective purchasers

in connection w ith the offering for sale,sale,orprom otion ofa business opportunity while,

amongotherthings,(1)lackingareasonablebasisfortheearningsclaim atthetimeitwasmade;
(2)lackingw'
           rittensubstantiationfortheearningsclaim atthetimeitwasmade;or(3)failingto
provide an earningsclaim statem entto the prospective purchaser,as required by the Business

O pportunity Rule.

   59. The D efendants'acts or practices,asdescribed in Paragraph 58 above,violate the

BusinessOpportunityRule,16C.F.R.j437.4(a),andSection5(a)oftheFTC Act,15U.S.C.j
45(a).
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                                     C O UN T FO UR

                       G eneralM edia EarninzsC laim s V iolations
                                  (asto aIIDefendants)
         In num erousinstances,Defendantsm ake eam ings claim sin the generalm edia in

connedion with theofferingforsale,sale,orpromotion ofabusinessopportunity while, am ong

otherthings,(1)laekingareasonablebasisfortheearningsclaim atthetimeitwasmade;(2)
lackingwrittensubstantiationfortheearningsclaim atthetimeitwasmade;or(3)failingto
statein immediateconjunction withthoseclaims(i)thebeginningandendingdateswhenthe
representedearningswereachieved,and(ii)thenumberandpercentageofallpersonswho
purchasedD efendants'businessopportunity priortothatending datewho achieved atleastthe

stated levelofearnings.

   61. TheDefendants'actsorpractices,asdescribed in Paragraph 60 above,violatethe

BusinessOpportunityRule,16C.F.R.j437.4(b),andSection 5(a)oftheFTC Act,15U.S.C.j
45(a).
                                    C O U N T FIVE

                     M isrepresentations R ezardine Incom e or Profits
                                  (astoaIIDefendants)
   62. In num erous instances,in connection w ith the offerforsale,sale,orprom otion ofa

business opportunity,the D efendants m isrepresenta specitic levelorrange of adualorpotential

salesorgross ornetincom e orprofitsthata prospective purchaserm ay earn orthatprior

purchasershave earned.

   63. The D efendants'actsorpractices,asdescribed in Paragraph 62 above,violate the

BusinessOpportunityRule,16 C.F.R.j437.6(* ,andSection 5(a)oftheFTC Act,15U.S.C.j
45(a).


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                                     CO UN T SIX

                                  M isrepresentations
                                 (astoalIDefendants)
         ln num erous instances,in connection w ith the offerfor sale,sale,or prom otion ofa

businessopportunity,theDefendantsmisrepresentthe likelihoodthatDigitallncome System will

find locations,outlets,accounts,orcustomersforthe purchaserby providing leadsofother

consum ersw ho m ightbe interested in purchasing the D igitallncom e System .

         TheD efendants'acts orpractices,asdescribed in Paragraph 64 above,violate the

BusinessOpportunity Rule,16C.F.R.j437.6U*),andSection5(a)oftheFTC Ad,15U.S.C.j
45(a).
                                 C O N SUM ER INJUR Y

   66. Consum ersthroughoutthe U nited Statesare suffering,have suffered,and w illcontinue

tosuffersubstantialinjlzryasaresultofDefendants'violationsoftheFTC ActandtheBusiness
OpportunityRule.Inaddition,Defendantshavebeenunjustlyenrichedasaresultoftheir
unlawfulaetsorpractiees.AbsentinjunetivereliefbythisCourt,Defendantsarelikelyto
continuetoinjureconsumers,reapunjustenrichment,andharm thepublicinterest.
                    TH IS CO UR T'S PO W ER TO G R AN T R ELIEF

         Section 13(b)oftheFTC Act,15U.S.C.j53(b),empowersthisCourttogrant
injunctiveandsueh otherreliefastheCourtmaydeem appropriatetohaltandredress
violations ofany provision oflaw enforeed by the FTC. The Court,in the exercise ofits

equitablejurisdiction,mayaward ancillaryrelief,includingrescissionorreformationof
contracts,restitution,therefund ofmoniespaid,andthedisgorgem entofill-gotten m oniesto

preventand rem edy any violation ofany provision oflaw enforced by the FTC.

   68. Section 19 oftheFTC Act,15U.S.C.j57b,authorizesthisCourttograntsuchreliefas
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theCourtfindsnecessarytoredressinjurytoconsumersresultingfrom Defendants'violationsof
the Business O pportunity Rule,including rescission and reform ation of contracts and the refund

ofm oney.

                                 PM YER FO R R ELIEF

       W HEREFORE,PlaintiffFTC,pursuantto Sections13(b)and 19oftheFTC Act,15
U.S.C.jj53(b)and 57b,theBusinessOpportunityRule,16 C.F.R.j437,andtheCourt'sown
equitable pow ers,requestthatthe Court:

               AwardPlaintiffsueh preliminaryinjundiveandaneillaryreliefasmaybe
necessarytoavertthelikelihoodofconsumerinjuryduringthependencyofthisactionandto
preservethepossibility ofeffectivefinalrelief,includingtemporary andpreliminaryinjunctions,
an order freezing assets,im m ediate accessto any businessprem ises,and appointm entofa

receiver;

       B.      EnterapermanentinjunctiontopreventfutureviolationsoftheFTC Aetby
D efendants'
           ,

               Awardsuch reliefastheCourtfindsnecessarytoredressinjurytoconsumers
resulting from D efendants'violations ofthe FTC A d ,including rescission orreform ation of

contracts,restitution,the refund ofm oniespaid,and the disgorgem entofill-gotten m onies;and

       D.      Aw ard Plaintiffthe costs ofbringing this action,asw ellas such other and

additionalreliefastheCourtmaydeterminetobejustandproper.




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      Dated:N ovem ber 16,2020      Respectfully subm itted,
                                    FED ERAL TRAD E COM M ISSION

                                    ALDEN A BBO TT
                                    GENE    L CQUNSEL                   s
                                        )             ')
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